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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
ELECTRONIC PRIVACY INFORMATION )
CENTER,                                )
                                       )
                  Plaintiff,           )
                                       )
      v.                               )     Civil Action No. 19-810 (RBW)
                                       )
UNITED STATES DEPARTMENT OF             )
JUSTICE,                               )
                                       )
                  Defendant.           )
_______________________________________)
                                       )
JASON LEOPOLD &                        )
BUZZFEED, INC.,                        )
                                       )
                  Plaintiffs,          )
                                       )
      v.                               )     Civil Action No. 19-957 (RBW)
                                       )
UNITED STATES DEPARTMENT OF            )
JUSTICE, et al.,                        )
                                        )
                  Defendants.           )
_______________________________________)

                                             ORDER

       In order to ensure the expeditious resolution of the Emergency Motion of Plaintiffs Jason

Leopold and Buzzfeed, Inc., for Court Order Requiring Defendants to Reprocess the Mueller

Report Before the November 3, 2020 Presidential Election in Light of the President’s Recent

Declassification and Waiver, it is hereby

       ORDERED that, on or before October 13, 2020, at 5:00 p.m., the United States

Department of Justice (the “Department”) shall file its opposition to the plaintiffs’ motion. The

Department’s opposition shall address, inter alia, the plaintiffs’ claim that the tweets by President

Donald Trump referred to in the plaintiffs’ motion resulted in the waiver of exemptions under the
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Freedom of Information Act for the report prepared by Special Counsel Robert Mueller

regarding his investigation into Russian interference in the 2016 United States presidential

election. It is further

        ORDERED that the Department shall confer with the White House in order to advise the

Court as to the White House’s official position regarding the declassification and release to the

public of information related to the Russia investigation. It is further

        ORDERED that, on or before October 14, 2020, at 5:00 p.m., the plaintiffs shall file a

reply, if any, in support of their motion. It is further

        ORDERED that, on October 16, 2020, at 11:00 a.m., the parties shall appear before the

Court for a motion hearing via teleconference by calling 1-877-873-8017 and entering the

Court’s access code (8583213) followed by the pound key (#).

        SO ORDERED this 8th day of October, 2020.


                                                              REGGIE B. WALTON
                                                              United States District Judge
